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   8
   9                       UNITED STATES DISTRICT COURT
  10                      CENTRAL DISTRICT OF CALIFORNIA
  11
  12   ESTATE OF NORMA GUZMAN,              Lead Case No. CV15-07932 JAK (FFMx)
       by and through successor in interest
  13   GLORIA GONZALEZ, individually, Consolidated w/: CV16-03101 JAK(FFMx)
                                            Hon. John A. Kronstadt - Crtrm 10B
  14                Plaintiff,              Hon. Magistrate Judge: Frederick F. Mumm
  15         v.
  16   CITY OF LOS ANGELES; DOE             OFFICER SAMUEL BRIGGS’
       OFFICERS 1 through 5 and DOES 6 ANSWSER TO SECOND AMENDED
  17   through 10, INCLUSIVE and DOES COMPLAINT FOR DAMAGES
       1 through 10,
  18
                   Defendants.
  19
  20
       AND CONSOLIDATED ACTION.
  21
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                        ANSWER TO SECOND AMENDED COMPLAINT
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   1                 ANSWER TO SECOND AMENDED COMPLAINT
   2         Answering Plaintiffs’ Second Amended Complaint for (1) Violation of 42
   3   U.S.C. § 1983 [Excessive Force]; (2) Violation of 42 U.S.C. § 1983 [Municipal
   4   Liability for Unconstitutional Custom, Practice or Policy]; (3) Wrongful
   5   Death/Survival Action [Assault and Battery]; (4) Wrongful Death/Survival Action
   6   [Negligence]; (5) Violation of Ralph Civil Rights Act Civil Code § 51.7; (6)
   7   Violation of Bane Civil Rights Act § 51.2; (7) Negligent Hiring and Supervision;
   8   and (8) Violation of the Americans with Disabilities Act [42 USC 12101],
   9   Defendant Samuel Briggs admits, denies and alleges as follows:
  10
  11                                   INTRODUCTION
  12         1.     Answering paragraph 1 of the Second Amended Complaint, insofar as
  13   the allegations of this paragraph contain legal conclusions, no answer is required.
  14   To the extent an answer is required, Officer Briggs admits that one or more Los
  15   Angeles Police Officers fired at Norma Guzman on September 27, 2015 thereby
  16   killing her. Except as so expressly admitted, Officer Briggs denies each and every
  17   allegation contained in paragraph 1 of the Second Amended Complaint.
  18
  19                                    JURISDICTION
  20         2.     Answering paragraph 2 of the Second Amended Complaint, insofar as
  21   the allegations of this paragraph contain legal conclusions, no answer is required.
  22   To the extent an answer is required, the City admits that this Court has subject-
  23   matter jurisdiction over this case insofar as this case arises under 42 U.S.C. § 1983
  24   and supplemental jurisdiction over the state-law claims. Except as so admitted, the
  25   City denies each and every allegation contained in paragraph 2 of the Second
  26   Amended Complaint.
  27
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                          ANSWER TO SECOND AMENDED COMPLAINT
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   1                                         PARTIES
   2         3.     Answering paragraph 3 of the Second Amended Complaint, insofar as
   3   the allegations of this paragraph contain legal conclusions, no answer is required.
   4   To the extent an answer is required, Officer Briggs is without sufficient knowledge
   5   or information to form a belief as to the truth of the allegations, and on that basis
   6   denies each and every allegation contained therein.
   7         4.     Answering paragraph 4 of the Second Amended Complaint, insofar as
   8   the allegations of this paragraph contain legal conclusions, no answer is required.
   9   To the extent an answer is required, Officer Briggs is without sufficient knowledge
  10   or information to form a belief as to the truth of the allegations, and on that basis
  11   denies each and every allegation contained therein.
  12         5.     Answering paragraph 5 of the Second Amended Complaint, insofar as
  13   the allegations of this paragraph contain legal conclusions, no answer is required.
  14   To the extent an answer is required, Officer Briggs is without sufficient knowledge
  15   or information to form a belief as to the truth of the allegations, and on that basis
  16   denies each and every allegation contained therein.
  17         6.     Answering paragraph 6 of the Second Amended Complaint, insofar as
  18   the allegations of this paragraph contain legal conclusions, no answer is required.
  19   To the extent an answer is required, Officer Briggs admits that he was employed by
  20   the Los Angeles Police Department on September 27, 2015. Except as so expressly
  21   admitted, Officer Briggs denies each and every allegation contained in paragraph 6
  22   of the Second Amended Complaint.
  23         7.     Answering paragraph 6 of the Second Amended Complaint, insofar as
  24   the allegations of this paragraph contain legal conclusions, no answer is required.
  25   To the extent an answer is required, Officer Briggs admits that Officer McNeely
  26   was employed by the Los Angeles Police Department on September 27, 2015.
  27   Except as so expressly admitted, Officer Briggs denies each and every allegation
  28   contained in paragraph 7 of the Second Amended Complaint.
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                          ANSWER TO SECOND AMENDED COMPLAINT
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   1         8.     Answering paragraph 8 of the Second Amended Complaint, insofar as
   2   the allegations of this paragraph contain legal conclusions, no answer is required.
   3   To the extent an answer is required, Officer Briggs admits that the City of Los
   4   Angeles is a municipality and the employer of Officer Briggs and Officer McNeely
   5   on September 27, 2015. Except as so expressly admitted, Officer Briggs denies
   6   each and every allegation contained in paragraph 8 of the Second Amended
   7   Complaint.
   8         9.     Answering paragraph 9 of the Second Amended Complaint, Officer
   9   Briggs admits that the Los Angeles Police Department is a department and
  10   subdivision of the City of Los Angeles. Except as so expressly admitted, Officer
  11   Briggs denies each and every allegation contained in paragraph 9 of the Second
  12   Amended Complaint.
  13         10.    Answering paragraph 10 of the Second Amended Complaint, Officer
  14   Briggs is without sufficient knowledge or information to form a belief as to the
  15   truth of the allegations, and on that basis denies each and every allegation contained
  16   therein.
  17         11.    Answering paragraph 11 of the Second Amended Complaint, Officer
  18   Briggs is without sufficient knowledge or information to form a belief as to the
  19   truth of the allegations, and on that basis denies each and every allegation contained
  20   therein.
  21
  22                              FACTUAL ALLEGATIONS
  23         12.    Answering paragraph 12 of the Second Amended Complaint, Officer
  24   Briggs is without sufficient knowledge or information to form a belief as to the
  25   truth of the allegations, and on that basis denies each and every allegation contained
  26   therein.
  27         13.    Answering paragraph 13 of the Second Amended Complaint, Officer
  28   Briggs is without sufficient knowledge or information to form a belief as to the
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                          ANSWER TO SECOND AMENDED COMPLAINT
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   1   truth of the allegations, and on that basis denies each and every allegation contained
   2   therein.
   3         14.    Answering paragraph 14 of the Second Amended Complaint, insofar
   4   as the allegations of this paragraph contain legal conclusions, no answer is required.
   5   To the extent an answer is required, Officer Briggs admits that he was employed by
   6   the Los Angeles Police Department on September 27, 2015. Officer Briggs admits
   7   that LAPD Officers were involved in a confrontation with Norma Guzman resulting
   8   from a 911 call that she was holding a knife and screaming at the owner of a
   9   business located at 2120 South San Pedro Street. Officer Briggs further admits that
  10   at the conclusion of the confrontation, one or more LAPD Officers fired at Norma
  11   Guzman thereby killing her. As to the remaining allegations and except as so
  12   expressly admitted, Officer Briggs denies each and every allegations contained in
  13   paragraph 14.
  14         15.    Answering paragraph 15 of the Second Amended Complaint, Officer
  15   Briggs admits that the confrontation with Norma Guzman resulted from a 911 call
  16   that she was holding a knife and screaming at the owner of a business located at
  17   2120 South San Pedro Street and denies that the 911 call simply reported “irregular
  18   activity”. Officer Briggs denies that he was aware that this was an “ongoing
  19   incident” and denies being aware that Decedent was mentally ill. Officer Briggs
  20   admits the remaining allegations contained in paragraph 15.
  21         16.    Answering paragraph 16 of the Second Amended Complaint, Officer
  22   Briggs denies each and every allegation therein.
  23         17.    Answering paragraph 17 of the Second Amended Complaint, insofar
  24   as the allegations of this paragraph contain legal conclusions, no answer is required.
  25   To the extent an answer is required, Officer Briggs admits that LAPD Officers were
  26   involved in a confrontation with Norma Guzman resulting from a 911 call that she
  27   was holding a knife and screaming at the owner of a business located at 2120 South
  28   San Pedro Street. Officer Briggs further admits that at the conclusion of the
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                          ANSWER TO SECOND AMENDED COMPLAINT
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   1   confrontation, one or more LAPD Officers fired at Norma Guzman thereby killing
   2   her. As to the remaining allegations and except as so expressly admitted, Officer
   3   Briggs denies each and every allegation contained in paragraph 17.
   4         18.    Answering paragraph 18 of the Second Amended Complaint, as to the
   5   allegations regarding knowledge held by Officer McNeely, the City, LAPD or DOE
   6   Defendants, Officer Briggs is without sufficient knowledge or information to form
   7   a belief as to the truth of those allegations, and on that basis denies those
   8   allegations. As to Officer Briggs’ knowledge, Officer Briggs denies that decedent
   9   was known, in any way, to Officer Briggs prior to September 27, 2015. As to the
  10   remaining allegations, Officer Briggs denies each and every allegation contained in
  11   paragraph 18.
  12         19.    Answering paragraph 19 of the Second Amended Complaint, insofar
  13   as the allegations of this paragraph contain legal conclusions, no answer is required.
  14   To the extent an answer is required, Officer Briggs denies each and every allegation
  15   contained in paragraph 19.
  16         20.    Answering paragraph 20 of the Second Amended Complaint, insofar
  17   as the allegations of this paragraph contain legal conclusions, no answer is required.
  18   To the extent an answer is required, Officer Briggs denies each and every allegation
  19   contained in paragraph 20.
  20         21.    Answering paragraph 21 of the Second Amended Complaint, insofar
  21   as the allegations of this paragraph contain legal conclusions, no answer is required.
  22   To the extent an answer is required, Officer Briggs denies each and every allegation
  23   contained in paragraph 21.
  24         22.    Answering paragraph 22 of the Second Amended Complaint, insofar
  25   as the allegations of this paragraph contain legal conclusions, no answer is required.
  26   To the extent an answer is required, Officer Briggs denies each and every allegation
  27   contained in paragraph 22.
  28         23.    Answering paragraph 23 of the Second Amended Complaint, insofar
                                                 -6-
                          ANSWER TO SECOND AMENDED COMPLAINT
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   1   as the allegations of this paragraph contain legal conclusions, no answer is required.
   2   To the extent an answer is required, Officer Briggs denies each and every allegation
   3   contained in paragraph 23.
   4         24.    Answering paragraph 24 of the Second Amended Complaint, insofar
   5   as the allegations of this paragraph contain legal conclusions, no answer is required.
   6   To the extent an answer is required, Officer Briggs is without sufficient knowledge
   7   or information to form a belief as to the truth of the allegations, and on that basis
   8   denies each and every allegation contained therein.
   9         25.    Answering paragraph 25 of the Second Amended Complaint, insofar
  10   as the allegations of this paragraph contain legal conclusions, no answer is required.
  11   To the extent an answer is required, as to the allegations regarding persons other
  12   than Officer Briggs, Officer Briggs is without sufficient knowledge or information
  13   to form a belief as to the truth of those allegations, and on that basis denies those
  14   allegations. As to the remaining allegations regarding Officer Briggs, Officer
  15   Briggs denies each and every allegation contained in paragraph 25.
  16         26.    Answering paragraph 26 of the Second Amended Complaint, insofar
  17   as the allegations of this paragraph contain legal conclusions, no answer is required.
  18   To the extent an answer is required, as to the allegations regarding persons other
  19   than Officer Briggs, Officer Briggs is without sufficient knowledge or information
  20   to form a belief as to the truth of those allegations, and on that basis denies those
  21   allegations. As to the remaining allegations regarding Officer Briggs, Officer
  22   Briggs denies each and every allegation contained in paragraph 26.
  23
  24                              FIRST CAUSE OF ACTION
  25         27.    Paragraph 27 of the Second Amended Complaint merely incorporates
  26   by reference the allegations of previous paragraphs. In answering paragraph 27,
  27   Officer Briggs incorporates its respective admissions and denials to each such
  28   paragraph enumerated above.
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                          ANSWER TO SECOND AMENDED COMPLAINT
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   1         28.    Answering paragraph 28 of the Second Amended Complaint, insofar
   2   as the allegations of this paragraph contain legal conclusions, no answer is required.
   3   To the extent an answer is required, Officer Briggs is without sufficient knowledge
   4   or information to form a belief as to the truth of the allegations, and on that basis
   5   denies each and every allegation contained therein.
   6         29.    Answering paragraph 29 of the Second Amended Complaint, insofar
   7   as the allegations of this paragraph contain legal conclusions, no answer is required.
   8   To the extent an answer is required, as to the allegations regarding persons other
   9   than Officer Briggs, Officer Briggs is without sufficient knowledge or information
  10   to form a belief as to the truth of those allegations, and on that basis denies those
  11   allegations. As to the remaining allegations regarding Officer Briggs, Officer
  12   Briggs denies each and every allegation contained in paragraph 29.
  13         30.    Answering paragraph 30 of the Second Amended Complaint, insofar
  14   as the allegations of this paragraph contain legal conclusions, no answer is required.
  15   To the extent an answer is required, Officer Briggs admits that LAPD Officers were
  16   involved in a confrontation with Norma Guzman resulting from a 911 call that she
  17   was armed with a knife and screaming on the street. Officer Briggs further admits
  18   that at the conclusion of the confrontation, one or more LAPD Officers fired at
  19   Norma Guzman thereby killing her. As to the remaining allegations and except as
  20   so expressly admitted, Officer Briggs denies each and every allegation contained in
  21   paragraph 30.
  22         31.    Answering paragraph 31 of the Second Amended Complaint, insofar
  23   as the allegations of this paragraph contain legal conclusions, no answer is required.
  24   To the extent an answer is required, Officer Briggs admits that LAPD Officers were
  25   involved in a confrontation with Norma Guzman resulting from a 911 call that she
  26   was armed with a knife and screaming on the street. Officer Briggs further admits
  27   that at the conclusion of the confrontation, one or more LAPD Officers fired at
  28   Norma Guzman thereby killing her. As to the remaining allegations and except as
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                          ANSWER TO SECOND AMENDED COMPLAINT
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   1   so expressly admitted, Officer Briggs denies each and every allegation contained in
   2   paragraph 31.
   3         32.    Answering paragraph 32 of the Second Amended Complaint, insofar
   4   as the allegations of this paragraph contain legal conclusions, no answer is required.
   5   To the extent an answer is required, Officer Briggs denies each and every allegation
   6   contained within paragraph 32.
   7         33.    Answering paragraph 33 of the Second Amended Complaint, insofar
   8   as the allegations of this paragraph contain legal conclusions, no answer is required.
   9   To the extent an answer is required, Officer Briggs denies each and every allegation
  10   contained in paragraph 33.
  11         34.     Answering paragraph 34 of the Second Amended Complaint, as to the
  12   allegations regarding knowledge held by Officer McNeely, the City, LAPD or DOE
  13   Defendants, Officer Briggs is without sufficient knowledge or information to form
  14   a belief as to the truth of those allegations, and on that basis denies those
  15   allegations. As to Officer Briggs’ knowledge, Officer Briggs denies that decedent
  16   was known, in any way, to Officer Briggs prior to September 27, 2015. As to the
  17   remaining allegations, Officer Briggs denies each and every allegation contained in
  18   paragraph 34.
  19         35.    Answering paragraph 35 of the Second Amended Complaint, insofar
  20   as the allegations of this paragraph contain legal conclusions, no answer is required.
  21   To the extent an answer is required, Officer Briggs denies each and every allegation
  22   contained in paragraph 35.
  23         36.    Answering paragraph 36 of the Second Amended Complaint, insofar
  24   as the allegations of this paragraph contain legal conclusions, no answer is required.
  25   To the extent an answer is required, Officer Briggs is without sufficient knowledge
  26   or information to form a belief as to the truth of the allegations, and on that basis
  27   denies each and every allegation contained therein.
  28         37.    Answering paragraph 37 of the Second Amended Complaint, insofar
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                          ANSWER TO SECOND AMENDED COMPLAINT
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   1   as the allegations of this paragraph contain legal conclusions, no answer is required.
   2   To the extent an answer is required, Officer Briggs is without sufficient knowledge
   3   or information to form a belief as to the truth of the allegations, and on that basis
   4   denies each and every allegation contained therein.
   5         38.    Answering paragraph 38 of the Second Amended Complaint, insofar
   6   as the allegations of this paragraph contain legal conclusions, no answer is required.
   7   To the extent an answer is required, Officer Briggs denies each and every allegation
   8   contained in paragraph 38.
   9         39.    Answering paragraph 39 of the Second Amended Complaint, insofar
  10   as the allegations of this paragraph contain legal conclusions, no answer is required.
  11   To the extent an answer is required, Officer Briggs denies each and every allegation
  12   contained in paragraph 39.
  13
  14                             SECOND CAUSE OF ACTION
  15         40.    Paragraph 40 of the Second Amended Complaint merely incorporates
  16   by reference the allegations of previous paragraphs. In answering paragraph 40,
  17   Officer Briggs incorporates its respective admissions and denials to each such
  18   paragraph enumerated above.
  19         41.    Answering paragraph 41 of the Second Amended Complaint, insofar
  20   as the allegations of this paragraph contain legal conclusions, no answer is required.
  21   To the extent an answer is required, Officer Briggs is without sufficient knowledge
  22   or information to form a belief as to the truth of the allegations and on that basis
  23   denies each and every allegation contained therein.
  24         42.    Answering paragraph 42 of the Second Amended Complaint, insofar
  25   as the allegations of this paragraph contain legal conclusions, no answer is required.
  26   To the extent an answer is required, Officer Briggs is without sufficient knowledge
  27   or information to form a belief as to the truth of the allegations and on that basis
  28   denies each and every allegation contained therein.
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                          ANSWER TO SECOND AMENDED COMPLAINT
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   1         43.    Answering paragraph 43 of the Second Amended Complaint, insofar
   2   as the allegations of this paragraph contain legal conclusions, no answer is required.
   3   To the extent an answer is required, Officer Briggs is without sufficient knowledge
   4   or information to form a belief as to the truth of the allegations and on that basis
   5   denies each and every allegation contained therein.
   6         44.    Answering paragraph 44 of the Second Amended Complaint, insofar
   7   as the allegations of this paragraph contain legal conclusions, no answer is required.
   8   To the extent an answer is required, Officer Briggs denies each and every allegation
   9   contained in paragraph 44 of the Second Amended Complaint.
  10         45.    Answering paragraph 45 of the Second Amended Complaint, insofar
  11   as the allegations of this paragraph contain legal conclusions, no answer is required.
  12   To the extent an answer is required, Officer Briggs is without sufficient knowledge
  13   or information to form a belief as to the truth of the allegations and on that basis
  14   denies each and every allegation contained therein.
  15         46.    Answering paragraph 46 of the Second Amended Complaint, insofar
  16   as the allegations of this paragraph contain legal conclusions, no answer is required.
  17   To the extent an answer is required, Officer Briggs is without sufficient knowledge
  18   or information to form a belief as to the truth of the allegations and on that basis
  19   denies each and every allegation contained therein.
  20         47.    Answering paragraph 47 of the Second Amended Complaint, insofar
  21   as the allegations of this paragraph contain legal conclusions, no answer is required.
  22   To the extent an answer is required, Officer Briggs is without sufficient knowledge
  23   or information to form a belief as to the truth of the allegations and on that basis
  24   denies each and every allegation contained therein.
  25         48.    Answering paragraph 48 of the Second Amended Complaint, insofar
  26   as the allegations of this paragraph contain legal conclusions, no answer is required.
  27   To the extent an answer is required, Officer Briggs is without sufficient knowledge
  28   or information to form a belief as to the truth of the allegations and on that basis
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                          ANSWER TO SECOND AMENDED COMPLAINT
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   1   denies each and every allegation contained therein.
   2         49.    Answering paragraph 49 of the Second Amended Complaint, insofar
   3   as the allegations of this paragraph contain legal conclusions, no answer is required.
   4   To the extent an answer is required, Officer Briggs is without sufficient knowledge
   5   or information to form a belief as to the truth of the allegations and on that basis
   6   denies each and every allegation contained therein.
   7         50.    Answering paragraph 50 of the Second Amended Complaint, insofar
   8   as the allegations of this paragraph contain legal conclusions, no answer is required.
   9   To the extent an answer is required, Officer Briggs is without sufficient knowledge
  10   or information to form a belief as to the truth of the allegations and on that basis
  11   denies each and every allegation contained therein.
  12
  13                              THIRD CAUSE OF ACTION
  14         51.    Paragraph 51 of the Second Amended Complaint merely incorporates
  15   by reference the allegations of previous paragraphs. In answering paragraph 51,
  16   Officer Briggs incorporates its respective admissions and denials to each such
  17   paragraph enumerated above.
  18         52.    Answering paragraph 52 of the Second Amended Complaint, insofar
  19   as the allegations of this paragraph contain legal conclusions, no answer is required.
  20   To the extent an answer is required, Officer Briggs admits that he was employed by
  21   the Los Angeles Police Department on September 27, 2015. Officer Briggs admits
  22   that LAPD Officers were involved in a confrontation with Norma Guzman resulting
  23   from a 911 call that she was holding a knife and screaming at the owner of a
  24   business located at 2120 South San Pedro Street. Officer Briggs further admits that
  25   at the conclusion of the confrontation, one or more LAPD Officers fired at Norma
  26   Guzman thereby killing her. As to the remaining allegations and except as so
  27   expressly admitted, Officer Briggs denies each and every allegations contained in
  28   paragraph 52.
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                          ANSWER TO SECOND AMENDED COMPLAINT
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   1         53.    Answering paragraph 53 of the Second Amended Complaint, insofar
   2   as the allegations of this paragraph contain legal conclusions, no answer is required.
   3   To the extent an answer is required, Officer Briggs admits that he was employed by
   4   the Los Angeles Police Department on September 27, 2015. Officer Briggs admits
   5   that LAPD Officers were involved in a confrontation with Norma Guzman resulting
   6   from a 911 call that she was holding a knife and screaming at the owner of a
   7   business located at 2120 South San Pedro Street. Officer Briggs further admits that
   8   at the conclusion of the confrontation, one or more LAPD Officers fired at Norma
   9   Guzman thereby killing her. As to the remaining allegations and except as so
  10   expressly admitted, Officer Briggs denies each and every allegations contained in
  11   paragraph 53.
  12         54.    Answering paragraph 54 of the Second Amended Complaint, insofar
  13   as the allegations of this paragraph contain legal conclusions, no answer is required.
  14   To the extent an answer is required, Officer Briggs admits that he was employed by
  15   the Los Angeles Police Department on September 27, 2015. Officer Briggs admits
  16   that LAPD Officers were involved in a confrontation with Norma Guzman resulting
  17   from a 911 call that she was holding a knife and screaming at the owner of a
  18   business located at 2120 South San Pedro Street. Officer Briggs further admits that
  19   at the conclusion of the confrontation, one or more LAPD Officers fired at Norma
  20   Guzman thereby killing her. As to the remaining allegations and except as so
  21   expressly admitted, Officer Briggs denies each and every allegations contained in
  22   paragraph 54.
  23         55.    Answering paragraph 55 of the Second Amended Complaint, insofar
  24   as the allegations of this paragraph contain legal conclusions, no answer is required.
  25   To the extent an answer is required, Officer Briggs denies each and every allegation
  26   contained in paragraph 55.
  27         56.    Answering paragraph 56 of the Second Amended Complaint, insofar
  28   as the allegations of this paragraph contain legal conclusions, no answer is required.
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                          ANSWER TO SECOND AMENDED COMPLAINT
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   1   To the extent an answer is required, Officer Briggs is without sufficient knowledge
   2   or information to form a belief as to the truth of the allegations and on that basis
   3   denies each and every allegation contained therein.
   4         57.    Answering paragraph 57 of the Second Amended Complaint, insofar
   5   as the allegations of this paragraph contain legal conclusions, no answer is required.
   6   To the extent an answer is required, Officer Briggs admits that he was employed by
   7   the Los Angeles Police Department on September 27, 2015. Officer Briggs admits
   8   that LAPD Officers were involved in a confrontation with Norma Guzman resulting
   9   from a 911 call that she was holding a knife and screaming at the owner of a
  10   business located at 2120 South San Pedro Street. Officer Briggs further admits that
  11   at the conclusion of the confrontation, one or more LAPD Officers fired at Norma
  12   Guzman thereby killing her. As to the remaining allegations and except as so
  13   expressly admitted, Officer Briggs denies each and every allegations contained in
  14   paragraph 57.
  15                             FOURTH CAUSE OF ACTION
  16         58.    Paragraph 58 of the Second Amended Complaint merely incorporates
  17   by reference the allegations of previous paragraphs. In answering paragraph 58,
  18   Officer Briggs incorporates its respective admissions and denials to each such
  19   paragraph enumerated above.
  20         59.    Answering paragraph 59 of the Second Amended Complaint, insofar
  21   as the allegations of this paragraph contain legal conclusions, no answer is required.
  22   To the extent an answer is required, Officer Briggs admits that he was employed by
  23   the Los Angeles Police Department on September 27, 2015. Officer Briggs admits
  24   that LAPD Officers were involved in a confrontation with Norma Guzman resulting
  25   from a 911 call that she was holding a knife and screaming at the owner of a
  26   business located at 2120 South San Pedro Street. Officer Briggs further admits that
  27   at the conclusion of the confrontation, one or more LAPD Officers fired at Norma
  28   Guzman thereby killing her. As to the remaining allegations and except as so
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                          ANSWER TO SECOND AMENDED COMPLAINT
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   1   expressly admitted, Officer Briggs denies each and every allegation contained in
   2   paragraph 59.
   3           60.      Answering paragraph 60 of the Second Amended Complaint, insofar
   4   as the allegations of this paragraph contain legal conclusions, no answer is required.
   5   To the extent an answer is required, Officer Briggs denies each and every allegation
   6   contained in paragraph 60.
   7           61.      Answering paragraph 61 of the Second Amended Complaint, insofar
   8   as the allegations of this paragraph contain legal conclusions, no answer is required.
   9   To the extent an answer is required, Officer Briggs denies each and every allegation
  10   contained in paragraph 61.
  11           62.      Answering paragraph 62 of the Second Amended Complaint, insofar
  12   as the allegations of this paragraph contain legal conclusions, no answer is required.
  13   To the extent an answer is required, Officer Briggs denies each and every allegation
  14   contained in paragraph 62.
  15           63.      Answering paragraph 63 of the Second Amended Complaint, insofar
  16   as the allegations of this paragraph contain legal conclusions, no answer is required.
  17   To the extent an answer is required, Officer Briggs denies each and every allegation
  18   contained in paragraph 63.
  19
  20                                      FIFTH CAUSE OF ACTION1
  21           64.      Paragraph 64 of the Second Amended Complaint merely incorporates
  22   by reference the allegations of previous paragraphs. In answering paragraph 64,
  23   Officer Briggs incorporates its respective admissions and denials to each such
  24   paragraph enumerated above.
  25           65.      Answering paragraph 65 of the Second Amended Complaint, insofar
  26   as the allegations of this paragraph contain legal conclusions, no answer is required.
  27
       1
  28    Though originally plead against Officer Briggs, the Fifth Cause of Action was dismissed as to Officer Briggs
       pursuant to stipulation and order of the Court. [DKT 67].
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   1   To the extent an answer is required, Officer Briggs denies each and every allegation
   2   contained in paragraph 65.
   3           66.      Answering paragraph 66 of the Second Amended Complaint, insofar
   4   as the allegations of this paragraph contain legal conclusions, no answer is required.
   5   To the extent an answer is required, Officer Briggs denies each and every allegation
   6   contained in paragraph 66.
   7           67.      Answering paragraph 67 of the Second Amended Complaint, insofar
   8   as the allegations of this paragraph contain legal conclusions, no answer is required.
   9   To the extent an answer is required, Officer Briggs denies each and every allegation
  10   contained in paragraph 67.
  11           68.      Answering paragraph 68 of the Second Amended Complaint, insofar
  12   as the allegations of this paragraph contain legal conclusions, no answer is required.
  13   To the extent an answer is required, Officer Briggs denies each and every allegation
  14   contained in paragraph 68.
  15           69.      Answering paragraph 69 of the Second Amended Complaint, insofar
  16   as the allegations of this paragraph contain legal conclusions, no answer is required.
  17   To the extent an answer is required, Officer Briggs denies each and every allegation
  18   contained in paragraph 69.
  19
  20                                      SIXTH CAUSE OF ACTION2
  21           70.      Paragraph 70 of the Second Amended Complaint merely incorporates
  22   by reference the allegations of previous paragraphs. In answering paragraph 70,
  23   Officer Briggs incorporates its respective admissions and denials to each such
  24   paragraph enumerated above.
  25           71.      Answering paragraph 71 of the Second Amended Complaint, insofar
  26   as the allegations of this paragraph contain legal conclusions, no answer is required.
  27
       2
  28    Though originally plead against Officer Briggs, the Sixth Cause of Action was dismissed as to Officer Briggs
       pursuant to stipulation and order of the Court. [DKT 67].
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   1   To the extent an answer is required, Officer Briggs denies each and every allegation
   2   contained in paragraph 71.
   3           72.      Answering paragraph 72 of the Second Amended Complaint, insofar
   4   as the allegations of this paragraph contain legal conclusions, no answer is required.
   5   To the extent an answer is required, Officer Briggs denies each and every allegation
   6   contained in paragraph 72.
   7
   8                                   SEVENTH CAUSE OF ACTION3
   9           73.      Paragraph 73 of the Second Amended Complaint merely incorporates
  10   by reference the allegations of previous paragraphs. In answering paragraph 73,
  11   Officer Briggs incorporates its respective admissions and denials to each such
  12   paragraph enumerated above.
  13           74.      Answering paragraph 74 of the Second Amended Complaint, insofar
  14   as the allegations of this paragraph contain legal conclusions, no answer is required.
  15   To the extent an answer is required, Officer Briggs denies each and every allegation
  16   contained in paragraph 74.
  17           75.      Answering paragraph 75 of the Second Amended Complaint, insofar
  18   as the allegations of this paragraph contain legal conclusions, no answer is required.
  19   To the extent an answer is required, Officer Briggs is without sufficient knowledge
  20   or information to form a belief as to the truth of the allegations and on that basis
  21   denies each and every allegation contained therein.
  22           76.      Answering paragraph 76 of the Second Amended Complaint, insofar
  23   as the allegations of this paragraph contain legal conclusions, no answer is required.
  24   To the extent an answer is required, Officer Briggs is without sufficient knowledge
  25   or information to form a belief as to the truth of the allegations and on that basis
  26   denies each and every allegation contained therein.
  27
       3
  28    Though originally plead against Officer Briggs, the Seventh Cause of Action was dismissed as to Officer Briggs
       pursuant to stipulation and order of the Court. [DKT 67].
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   1         77.    Answering paragraph 77 of the Second Amended Complaint, insofar
   2   as the allegations of this paragraph contain legal conclusions, no answer is required.
   3   To the extent an answer is required, Officer Briggs is without sufficient knowledge
   4   or information to form a belief as to the truth of the allegations and on that basis
   5   denies each and every allegation contained therein.
   6
   7                             EIGHTH CAUSE OF ACTION
   8         78.    Paragraph 78 of the Second Amended Complaint merely incorporates
   9   by reference the allegations of previous paragraphs. In answering paragraph 78,
  10   Officer Briggs incorporates its respective admissions and denials to each such
  11   paragraph enumerated above.
  12         79.    Answering paragraph 79 of the Second Amended Complaint, insofar
  13   as the allegations of this paragraph contain legal conclusions, no answer is required.
  14   To the extent an answer is required, Officer Briggs is without sufficient knowledge
  15   or information to form a belief as to the truth of the allegations and on that basis
  16   denies each and every allegation contained therein.
  17         80.    Answering paragraph 80 of the Second Amended Complaint, insofar
  18   as the allegations of this paragraph contain legal conclusions, no answer is required.
  19   To the extent an answer is required, Officer Briggs is without sufficient knowledge
  20   or information to form a belief as to the truth of the allegations and on that basis
  21   denies each and every allegation contained therein.
  22         81.    Answering paragraph 81 of the Second Amended Complaint, insofar
  23   as the allegations of this paragraph contain legal conclusions, no answer is required.
  24   To the extent an answer is required, Officer Briggs is without sufficient knowledge
  25   or information to form a belief as to the truth of the allegations and on that basis
  26   denies each and every allegation contained therein.
  27         82.    Answering paragraph 82 of the Second Amended Complaint, insofar
  28   as the allegations of this paragraph contain legal conclusions, no answer is required.
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   1   To the extent an answer is required, Officer Briggs is without sufficient knowledge
   2   or information to form a belief as to the truth of the allegations and on that basis
   3   denies each and every allegation contained therein.
   4         83.    Answering paragraph 83 of the Second Amended Complaint, insofar
   5   as the allegations of this paragraph contain legal conclusions, no answer is required.
   6   To the extent an answer is required, as to the allegations regarding knowledge held
   7   by Officer McNeely, the City, LAPD or DOE Defendants or actions of those
   8   Defendants, Officer Briggs is without sufficient knowledge or information to form
   9   a belief as to the truth of those allegations, and on that basis denies those
  10   allegations. As to Officer Briggs’ knowledge and actions, Officer Briggs denies
  11   each and every allegation contained in paragraph 83.
  12         84.    Answering paragraph 84 of the Second Amended Complaint, insofar
  13   as the allegations of this paragraph contain legal conclusions, no answer is required.
  14   To the extent an answer is required, as to the allegations regarding knowledge held
  15   by Officer McNeely, the City, LAPD or DOE Defendants or actions of those
  16   Defendants, Officer Briggs is without sufficient knowledge or information to form
  17   a belief as to the truth of those allegations, and on that basis denies those
  18   allegations. As to Officer Briggs’ knowledge and actions, Officer Briggs denies
  19   each and every allegation contained in paragraph 84.
  20         85.    Answering paragraph 85 of the Second Amended Complaint, insofar
  21   as the allegations of this paragraph contain legal conclusions, no answer is required.
  22   To the extent an answer is required, as to the allegations regarding knowledge held
  23   by Officer McNeely, the City, LAPD or DOE Defendants or actions of those
  24   Defendants, Officer Briggs is without sufficient knowledge or information to form
  25   a belief as to the truth of those allegations, and on that basis denies those
  26   allegations. As to Officer Briggs’ knowledge and actions, Officer Briggs denies
  27   each and every allegation contained in paragraph 85.
  28         86.    Answering paragraph 86 of the Second Amended Complaint, insofar
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   1   as the allegations of this paragraph contain legal conclusions, no answer is required.
   2   To the extent an answer is required, Officer Briggs is without sufficient knowledge
   3   or information to form a belief as to the truth of the allegations and on that basis
   4   denies each and every allegation contained therein.
   5         87.    Answering paragraph 87 of the Second Amended Complaint, insofar
   6   as the allegations of this paragraph contain legal conclusions, no answer is required.
   7   To the extent an answer is required, as to the allegations regarding actions by
   8   Officer McNeely, the City, LAPD or DOE Defendants or actions of those
   9   Defendants, Officer Briggs is without sufficient knowledge or information to form
  10   a belief as to the truth of those allegations, and on that basis denies those
  11   allegations. As to Officer Briggs’ actions, Officer Briggs denies each and every
  12   allegation contained in paragraph 87.
  13         88.    Answering paragraph 88 of the Second Amended Complaint, insofar
  14   as the allegations of this paragraph contain legal conclusions, no answer is required.
  15   To the extent an answer is required, Officer Briggs is without sufficient knowledge
  16   or information to form a belief as to the truth of the allegations and on that basis
  17   denies each and every allegation contained therein.
  18         89.    Answering paragraph 89 of the Second Amended Complaint, insofar
  19   as the allegations of this paragraph contain legal conclusions, no answer is required.
  20   To the extent an answer is required, Officer Briggs is without sufficient knowledge
  21   or information to form a belief as to the truth of the allegations and on that basis
  22   denies each and every allegation contained therein.
  23         90.    Answering paragraph 90 of the Second Amended Complaint, insofar
  24   as the allegations of this paragraph contain legal conclusions, no answer is required.
  25   To the extent an answer is required, as to the allegations regarding knowledge held
  26   by Officer McNeely, the City, LAPD or DOE Defendants or actions of those
  27   Defendants, Officer Briggs is without sufficient knowledge or information to form
  28   a belief as to the truth of those allegations, and on that basis denies those
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   1   allegations. As to Officer Briggs’ knowledge and actions, Officer Briggs denies
   2   each and every allegation contained in paragraph 90.
   3          91.    Answering paragraph 91 of the Second Amended Complaint, insofar
   4   as the allegations of this paragraph contain legal conclusions, no answer is required.
   5   To the extent an answer is required, Officer Briggs denies each and every allegation
   6   contained in paragraph 91.
   7
   8                              AFFIRMATIVE DEFENSES
   9          In addition to each of the admissions and denials set forth above, Officer
  10   Briggs asserts the following affirmative defenses. The assertion of an affirmative
  11   defense shall not negate, by any means, Plaintiffs’ burden of proof on any element
  12   of their claims.
  13
  14                           FIRST AFFIRMATIVE DEFENSE
  15                                   (Assumption of Risk)
  16          Officer Briggs alleges Norma Guzman voluntarily assumed all risks,
  17   responsibility and liability for the alleged injuries or damages, if any, sustained by
  18   Plaintiffs.
  19
  20                         SECOND AFFIRMATIVE DEFENSE
  21                          (Claims Barred by Govt. Code § 820.2)
  22          Officer Briggs alleges that each and every state law claim for relief contained
  23   in Plaintiffs’ Second Amended Complaint is barred by the provisions of
  24   Government Code section 820.2. Specifically, except as otherwise provided by
  25   statute, a public employee is not liable for an injury resulting from his act or
  26   omission where the act or omission was the result of the exercise of the discretion
  27   vested in him, whether or not such discretion be abused.
  28
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   1                          THIRD AFFIRMATIVE DEFENSE
   2                          (Claims Barred by Govt. Code § 820.4)
   3         Officer Briggs alleges that each and every state law claim for relief contained
   4   in Plaintiffs' Second Amended Complaint is barred by the provisions of
   5   Government Code section 820.4. Specifically, a public employee is not liable for
   6   his act or omission, exercising due care, in the execution or enforcement of any law.
   7
   8                         FOURTH AFFIRMATIVE DEFENSE
   9                          (Claims Barred by Govt. Code § 820.8)
  10         Officer Briggs alleges that each and every state law claim for relief contained
  11   in Plaintiffs’ Second Amended Complaint is barred by the provisions of
  12   Government Code section 820.8. Specifically, except as otherwise provided by
  13   statute, a public employee is not liable for an injury caused by the act or omission
  14   of another person.
  15
  16                           FIFTH AFFIRMATIVE DEFENSE
  17                          (Claims Barred by Govt. Code § 845.8)
  18         Officer Briggs alleges that each and every state-law claim for relief contained
  19   in Plaintiffs’ Second Amended Complaint is barred by the provision of Government
  20   Code section 845.8. Specifically, neither a public entity, nor a public employee is
  21   liable for any injury caused by (1) an escaping or escaped prisoner; (2) an escaping
  22   or escaped arrested person; or (3) a person resisting arrest.
  23
  24                           SIXTH AFFIRMATIVE DEFENSE
  25                          (Claims Barred by Govt. Code § 845.6)
  26         Officer Briggs alleges that each and every state-law claim for relief contained
  27   in Plaintiffs’ Second Amended Complaint is barred by the provision of Government
  28   Code section 845.6. Specifically, neither a public entity, nor a public employee is
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   1   liable for any injury proximately caused by the failure of the employee to furnish or
   2   obtain medical care for a prisoner in his custody.
   3
   4                        SEVENTH AFFIRMATIVE DEFENSE
   5                          (Claims Barred by Govt. Code § 855.6)
   6         Officer Briggs alleges that each and every state-law claim for relief contained
   7   in Plaintiffs’ Second Amended Complaint is barred by the provision of Government
   8   Code section 855.6. Specifically, neither a public entity, nor a public employee is
   9   liable for any injury proximately caused by the failure to make a physical or mental
  10   examination, or to make an adequate physical or mental examination, of any person
  11   for the purpose of determining whether such person has a disease or physical or
  12   mental condition that would constitute a hazard to the health or safety of himself or
  13   others.
  14
  15                         EIGHTH AFFIRMATIVE DEFENSE
  16                                         (Privilege)
  17         Officer Briggs alleges that each and claim for relief contained in Plaintiffs’
  18   Second Amended Complaint is barred because his conduct was, at all times,
  19   justified and privileged.
  20
  21                          NINTH AFFIRMATIVE DEFENSE
  22                               (Acts or Omissions of Plaintiff)
  23         Officer Briggs alleges that, to the extent Plaintiffs suffered any damages,
  24   which Officer Briggs denies, they were caused solely by the actions or omissions of
  25   Norma Guzman.
  26
  27
  28
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   1                          TENTH AFFIRMATIVE DEFENSE
   2                                 (Comparative Negligence)
   3         Officer Briggs alleges that each and every claim for relief stated in Plaintiffs’
   4   Second Amended Complaint is barred and/or subject to offset and reduction by
   5   virtue of the comparative negligence of Norma Guzman and/or others persons.
   6
   7                       ELEVENTH AFFIRMATIVE DEFENSE
   8                                       (Apportionment)
   9         Officer Briggs alleges that, if Plaintiffs suffered or sustained any loss or
  10   damage as alleged in the Second Amended Complaint, such loss or damage was
  11   proximately caused and contributed to by persons or entities other than Officer
  12   Briggs. The liability of all defendants, named or unnamed, should be apportioned
  13   according to the relative degrees of fault, and the liability of Officer Briggs should
  14   be reduced accordingly.
  15
  16                        TWELFTH AFFIRMATIVE DEFENSE
  17                                (Probable Cause of Threat)
  18         Officer Briggs alleges that each and every claim for relief contained in
  19   Plaintiffs’ Second Amended Complaint is barred because Officer Briggs had
  20   probable cause to believe that Norma Guzman posed a threat of serious physical
  21   harm to Officer Briggs or others.
  22
  23                      THIRTEENTH AFFIRMATIVE DEFENSE
  24                                  (Speculative Damages)
  25         Officer Briggs alleges that Plaintiffs’ claims for damages are barred, either in
  26   whole or in part, because Plaintiffs’ purported damages are remote, speculative
  27   and/or unavailable as a matter of law.
  28
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   1                         FOURTEENTH AFFIRMATIVE DEFENSE
   2                                      (Qualified Immunity)
   3            Officer Briggs alleges that the First Claim for Relief contained in Plaintiffs’
   4   Second Amended Complaint is barred because he is entitled to qualified immunity.
   5
   6                          FIFTEENTH AFFIRMATIVE DEFENSE
   7                        (Reservation of Additional Affirmative Defenses)
   8            Officer Briggs alleges that he is without sufficient information as to the
   9   nature and scope of Plaintiffs’ claims for relief to be able to be fully assess and set
  10   forth all potentially-applicable affirmative defenses in this matter. Accordingly,
  11   Officer Briggs hereby reserves the right to allege additional affirmative defenses as
  12   further information becomes known.
  13
  14                                    PRAYER FOR RELIEF
  15            WHEREFORE, Officer Briggs prays as follows:
  16            1.      That Plaintiffs take nothing by reason of their Second Amended
  17   Complaint, and that judgment be entered in favor of Officer Briggs;
  18            2.      That Officer Briggs be awarded costs of suit and attorney's fees
  19   incurred in defense of this action pursuant to 42 U.S.C. § 1988 and other legal
  20   grounds; and
  21            3.      For such other and further relief as the Court deems just and proper.
  22                                                Respectfully submitted,
       Dated:        October 25, 2017
  23
                                                    JONES & MAYER
  24
                                                    By: s/ James R. Touchstone
  25
                                                       JAMES R. TOUCHSTONE
  26                                                   DENISE L. ROCAWICH
                                                       Attorneys for Officer Samuel Briggs
  27
  28
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